Case No. 1:20-cr-00152-PAB Document 653-5 filed 10/18/21 USDC Colorado pg 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                          CHIEF JUDGE PHILIP A. BRIMMER

 Criminal Case No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1.    JAYSON JEFFREY PENN,
 2.    MIKELL REEVE FRIES,
 3.    SCOTT JAMES BRADY, and
 4.    ROGER BORN AUSTIN
 5.    TIMOTHY R. MULRENIN,
 6.    WILLIAM VINCENT KANTOLA,
 7.    JIMMIE LEE LITTLE,
 8.    WILLIAM WADE LOVETTE,
 9.    GARY BRIAN ROBERTS,
 10.   RICKIE PATERSON BLAKE,

       Defendants.


                                   PROPOSED ORDER


       THIS MATTER coming before the Court upon motion of the government for an

 order authenticating certain records under Federal Rules of Evidence 902(11), 902(13),

 and 902(14) and seeking a pre-trial order on admissibility of toll records under Federal

 Rule of Evidence 803(6), and the Court having considered the same, it is therefore:

       The Court hereby finds that Exhibits 2-1 through 36-1 as contained in the

 government’s motions comply with Federal Rules of Evidence 902(11) and 902(13).




                                             1
Case No. 1:20-cr-00152-PAB Document 653-5 filed 10/18/21 USDC Colorado pg 2 of 2




        The Court further finds that Exhibits 20-1 through 36-1 comply with Federal Rules

 of Evidence 902(11), 902(13) and 902(14).

        The Court further finds that the toll records as identified by the Document

 Identifiers relating to Exhibits 20-1 through 20-9, 21-1, 22-1, 23-1, 24-1 through 24-2,

 25-1, 26-1 through 26-13, 27-1, and 28-1 through 28-3 meet the requirements of

 Federal Rule of Evidence 803(6).

        Accordingly, the Court finds that the records certified in Exhibits 2-1 through 36-1

 are authentic, and that no witness testimony at trial is required to further authenticate

 said records.



        Dated this ____ day of __________, 2021.



                                                          BY THE COURT:



                                                        ____________________________

                                                          PHILIP A. BRIMMER
                                                          Chief United States District Judge




                                              2
